                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                        AT GREENEVILLE


 EVA MARIE BARRETT,                                         )
                                                            )
                    Petitioner,                             )
                                                            )
 v.                                                         )   Nos. 2:19-CV-091
                                                            )        2:17-CR-092
 UNITED STATES OF AMERICA,                                  )
                                                            )
                    Respondent.                             )


                                     MEMORANDUM OPINION

           Before the Court is Eva Marie Barrett’s (“Petitioner’s”) pro se motion to vacate, set

 aside, or correct her sentence pursuant to 28 U.S.C. § 2255. [Doc. 1; Criminal Docket

 (“Crim.”) Doc. 355].1 The United States has responded in opposition [Doc. 8]. Petitioner

 did not file a reply, and the time for doing so has passed. See Rule 5(d) of the Rules

 Governing Section 2255 Proceedings for the United States District Courts; see also [Doc.

 4]. For the reasons below, Petitioner’s § 2255 motion [Doc. 1; Crim. Doc. 355] will be

 DENIED.

      I.         BACKGROUND

           In January 2018, Petitioner and eight co-defendants were charged in a six-count

 superseding indictment pertaining to distribution of 1,000 kilograms or more of marijuana




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               Document numbers not otherwise specified refer to the civil docket.


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 along with several gun-related charges [Crim. Doc. 101]. Petitioner was named in three

 counts. See id.

        On February 5, 2018, Petitioner entered into a plea agreement with the government.

 [Crim. Doc. 120]. Petitioner agreed to plead guilty to one count of a lesser included offense

 of Conspiracy to Distribute 100 kilograms or more of marijuana. [See id.] The plea

 agreement was signed by Petitioner and attorney Wayne Stambaugh.

        In her plea agreement, Petitioner acknowledged that on July 7, 2016, a state search

 warrant was executed at Petitioner’s residence and “approximately one half [sic] pound of

 processed marijuana” along with $4,680.00 was seized [Id. at 2]. Officers also located a

 Jennings, 9mm semi-automatic pistol and MoneyGram receipts during the search. [Id]. One

 of the MoneyGram receipts was a transfer of $2,000.00 from Petitioner to a co-defendant

 at a Wal-Mart in Oregon. [Id.]. Petitioner further agreed that she was “responsible

 conspiring to distribute at least 100 kilograms but less than 400 kilograms of marijuana.”

 [Id. at 3]. Petitioner also acknowledged that “the sentencing determination will be based

 upon the entire scope of the defendant’s criminal conduct, the defendant’s criminal history,

 and pursuant to other factors and guidelines set forth in the Sentencing Guidelines and the

 factors set forth in 18 U.S.C. § 3553.” [Id. at 4].

        The Court conducted a change of plea hearing on February 20, 2018. Although there

 is no transcript of that hearing in the record, the Court recalls conducting its standard




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 colloquy with Petitioner and finding her competent to enter a guilty plea.2 The Court

 confirmed that Petitioner indeed wished to plead guilty. The Court also confirmed: that

 Petitioner had been afforded ample time to discuss the case with her attorney; that she

 believed that her attorney is fully aware of all the facts on which the charges were based;

 that counsel had explained the meaning of any words Petitioner might not have understood;

 that counsel had explained the terms of Petitioner’s plea agreement to her; and that

 Petitioner understood that her sentence would be determined by the Court.

        The presentence investigation report (“PSR”) calculated a total offense level of 23

 and criminal history category of I, resulting in a guideline range of 46 to 57 months. [Crim.

 Doc. 172, ¶ 64]. However, the statutorily required minimum sentence of five years was

 greater than the maximum of the applicable guideline range; therefore, the guideline term

 of imprisonment was 60 months pursuant to USSG §5G1.1. [Id.]. The PSR also noted that,

 but for Petitioner’s plea agreement, she would have been exposed to a mandatory

 consecutive term of imprisonment of 60 months, which would have been an aggregate

 sentence of 120 months. [Id. at ¶ 65].

        The government filed a notice of no objections to the PSR. [Crim. Doc. 178]. The

 government filed a sealed motion for downward departure requesting the Court grant a

 one-level reduction from the advisory guideline range pursuant to U.S.S.G. § 5K1.1,

 reducing Petitioner’s guideline range from 60 months to 46 to 57 months. [Crim. Doc. 213,



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  Where, as here, the same judge considering the § 2255 motion also presided over the underlying
 proceedings, the judge may rely on his recollections of those proceedings. Ray v. United States,
 721 F.3d 758, 761 (6th Cir. 2013).
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 p. 2]. The government also filed sentencing memorandum wherein it indicated that the

 correct advisory guideline calculation was 46 to 57 months imprisonment and reserved the

 right to file a motion for departure. [Crim Doc. 182].

          Petitioner, through counsel, also filed a notice of no objections to the PSR. [Crim.

 Doc. 187]. Petitioner, through counsel, filed a sentencing memorandum, requesting a

 departure from the advisory guideline range based on the governments motion for

 downward departure and the new sentencing procedures set forth in United States v.

 Booker, 543 U.S. 220, 245 (2005). [Crim. Doc. 207]. The recommendation was based on

 the PSR calculation of a total offense level of 23, which included a 2-point enhancement

 for a firearm being possessed. [See Crim. Doc. 172, ¶ 34].

          On June 26, 2018, the Court sentenced Petitioner to a total of 46 months’

 imprisonment, with such term of imprisonment to run concurrently with Sullivan County,

 Tennessee, Criminal Court Docket Number 201-CR-69113. [Crim. Doc. 261, p. 2].

 Petitioner did not file a direct appeal, but on May 31, 2019, she filed this timely § 2255

 motion.

    II.      STANDARD OF REVIEW

          Under § 2255(a), a federal prisoner may move to vacate, set aside, or correct her

 judgment of conviction and sentence if she claims that the sentence was imposed in

 violation of the Constitution or laws of the United States, that the court lacked jurisdiction

 to impose the sentence, or that the sentence is in excess of the maximum authorized by law

 or is otherwise subject to collateral attack. 28 U.S.C. § 2255(a). As a threshold standard, to

 obtain post-conviction relief under § 2255, the motion must allege: (1) an error of

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 constitutional magnitude; (2) a sentence imposed outside the federal statutory limits; or

 (3) an error of fact or law so fundamental as to render the entire criminal proceeding

 invalid. Mallett v. United States, 334 F.3d 491, 496-97 (6th Cir. 2003); Moss v. United

 States, 323 F.3d 445, 454 (6th Cir. 2003).

        A movant bears the burden of demonstrating an error of constitutional magnitude

 which had a substantial and injurious effect or influence on the criminal proceedings. See

 Reed v. Farley, 512 U.S. 339, 353 (1994) (noting that the Petitioner had not shown that his

 ability to present a defense was prejudiced by the alleged constitutional error); Brecht v.

 Abrahamson, 507 U.S. 619, 637-38 (1993) (addressing the harmless-error standard that

 applies in habeas cases alleging constitutional error). In order to obtain collateral relief

 under § 2255, a movant must clear a significantly higher hurdle than would exist on direct

 appeal. United States v. Frady, 456 U.S. 152, 166 (1982).

        When a defendant files a § 2255 motion, she must set forth facts which entitle her

 to relief. Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States, 285

 F.2d 733, 735 (6th Cir. 1961). A movant must prove that she is entitled to relief by a

 preponderance of evidence. Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006). A

 motion that merely states general conclusions of law, without substantiating the allegations

 with facts, is without legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959);

 United States v. Johnson, 940 F. Supp. 167, 171 (W.D. Tenn. 1996).

        Under Rule 8(a) of the Governing Rules, the Court is to review the answer, any

 transcripts, and records of prior proceedings and any material submitted under Rule 7 to

 determine whether an evidentiary hearing is warranted. Rules Governing Section 2255

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 Proceedings, Rule 8(a). If a petitioner presents a factual dispute, then “the habeas court

 must hold an evidentiary hearing to determine the truth of the petitioner’s claims.” Huff v.

 United States, 734 F.3d 600, 607 (6th Cir. 2013) (quoting Valentine v. United States, 488

 F.3d 325, 333 (6th Cir. 2007)). An evidentiary hearing is not required “if the petitioner’s

 allegations cannot be accepted as true because they are contradicted by the record,

 inherently incredible, or conclusions rather than statements of facts.” Valentine, 488 F.3d

 at 333 (quoting Arrendondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999)). The Court

 FINDS no need for an evidentiary hearing in the instant case.

    III.   ANALYSIS

        As an initial matter, Petitioner raises three claims in this § 2255 motion: 1)

 ineffective assistance of counsel for failing to argue against the gun enhancement in the

 PSR offense calculation, 2) that the Court erred in applying the gun enhancement when

 determining Petitioner’s sentence, and 3) ineffective assistance of counsel for failing to

 argue for a minor role reduction pursuant to U.S.S.G. § 3B1.2. [Doc. 2]. The Court will

 first address Claim 2, and then will address Claims 1 and 3 together.

        A. Claim 2 – Court Erred in Sentencing Based on Gun Enhancement

               a. Collateral Attack Waiver

        As a preliminary matter, the government asserts that Petitioner explicitly waived her

 right to file a § 2255 motion except for claims of ineffective assistance of counsel or

 prosecutorial misconduct [Doc. 8, p. 4]. Accordingly, the government asserts that her

 § 2255 motion should be summarily denied. [Id.].



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        When a defendant knowingly, intelligently, and voluntarily waives the right to

 collaterally attack her sentence, she is precluded from bringing such claims. Davila v.

 United States, 258 F.3d 448, 451 (6th Cir. 2001) (citing to United States v. Fleming, 239

 F.3d 761, 763 (6th Cir. 2001). A waiver in a plea agreement is generally considered

 knowing and voluntary if a defendant testified that her guilty plea was not coerced and that

 she reviewed and understood the agreement terms. Id. An exception to the general rule

 exists if the collateral attack concerns the validity of the waiver itself. In re Acosta, 480

 F.3d 421, 422 (6th Cir. 2007). However, in situations where the § 2255 motion does not

 articulate a basis for attacking the validity of the waiver, the Sixth Circuit and lower courts

 within the Circuit have upheld collateral attack waivers if the waivers were knowing and

 voluntary. Watson v. United States, 165 F.3d at 486, 489 (6th Cir. 1999); United States v.

 Eversole, No. 6:05-cr-34, 2010 WL 420067, at *2, n.3 (E.D. Ky. Feb. 1, 2010).

        In this case, Petitioner signed a Plea Agreement containing the following waiver

 provision: “[t]he defendant will not file any motions or pleadings pursuant to 28 U.S.C. §

 2255 or otherwise collaterally attack the defendant’s conviction(s) or sentence, with two

 exceptions: The defendant retains the right to file a §2255 motion as to (i) prosecutorial

 misconduct and (ii) ineffective assistance of counsel.” [Crim. Doc. 120, p. 7]. At

 Petitioner’s change-of-plea hearing, the Court reviewed the waiver provision and verified

 that Petitioner understood the meaning of the waiver. The Supreme Court has held that “the

 representations of the defendant, h[er] lawyer, and the prosecuter at [a plea] hearing, as

 well as any findings made by the judge accepting the plea, constitute a formidable barrier

 in any subsequent collateral proceedings,” and “[s]olemn declarations in open court carry

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 a strong presumption of verity.” Blackledge v. Allison, 431 U.S. 63, 73-74 (1977).

 Petitioner admitted that she understood the terms of the waiver provision, and nothing in

 the record suggests otherwise.

        Moreover, Petitioner does not challenge the validity of the actual waiver, suggest

 that she did not understand the waiver, or claim that she did not sign it voluntarily.

 Accordingly, because Petitioner is not attacking the validity of the plea itself, and because

 she expressly waived the right to collaterally attack her conviction except for claims of

 ineffective assistance of counsel and prosecutorial misconduct, Claim 2 is barred by the

 knowing and voluntary waiver contained in the binding Plea Agreement. See Davila, 258

 F.3d at 451. Accordingly, Petitioner’s Claim 2 will be DENIED as barred by her collateral

 attack waiver. However, as discussed below, this claim alternatively fails on the merits.

                b. Merits

        Petitioner primarily argues that the gun enhancement should not have been applied

 to her total offense calculation as there was no ammunition in the gun or elsewhere in the

 house, and it was solely used for self-defense, making it improbable that it was connected

 to the drug offense. [Doc. 2, p. 5].

        When determining whether the application of a Section 2D1.1(b)(1) enhancement

 was appropriate, the Court considers the following factors, none of which is alone

 controlling:



                (1) the type of firearm involved; (2) the accessibility of the weapon to the
                defendant; (3) the presence of ammunition; (4) the proximity of the weapon
                to illicit drugs, proceeds, or paraphernalia; (5) the defendant's evidence

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               concerning the use of the weapon; and (6) whether the defendant was actually
               engaged in drug-trafficking, rather than mere manufacturing or possession.

 United States v. Greeno, 679 F.3d 510, 515 (6th Cir. 2012); United States v. Edmonds, 9

 Fed.Appx. 330, 332 (6th Cir.2001) (citing United States v. Calhoun, 49 F.3d 231, 237 (6th

 Cir.1995); United States v. Chalkias, 971 F.2d 1206, 1217 (6th Cir.1992); United States v.

 McGhee, 882 F.2d 1095, 1099 (6th Cir.1989)).

        The burden of proving possession lies with the government and possession may be

 actual or constructive. United States v. Tisdale, 952 F.2d 934, 937 (6th Cir. 1992).

 Possession “during the commission of the offense” may be found if the firearm “could have

 facilitated [the] illegal [drug] transactions,” the guidelines do not require that the “firearms

 ... be readily accessible to be ‘connected’ with the drug offense.” McGhee, 882 F.2d at

 1099 (finding that guns hidden in the walls and floorboards belonging to defendant were

 available for possible use in drug transactions). Furthermore, the government must show

 only that the dangerous weapon was possessed during “relevant conduct.” United States v.

 Faison, 339 F.3d 518, 520 (6th Cir.2003). Relevant conduct is “all acts and omissions ...

 that were part of the same course of conduct or common scheme or plan as the offense of

 conviction.” Id. at 520 (citing U.S.S.G. § 1B1.3(a)(2)).

        Here, Petitioner does not dispute that she was in possession of a firearm. [Doc. 2, p.

 5]. Nor does she contend that she is actually innocent of conspiracy to distribute marijuana

 to which she pled guilty. [Id.]. While Petitioner concludes that the gun had no ammunition

 nor was located within sufficient proximity to raise an inference of relatedness, she does

 not allege facts to support these statements. [Id.]. Petitioner does not state where in the


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 residence the gun was located or how close it was to where the drugs were found, and this

 information is not included in the facts of the Plea Agreement or the PSR. Without

 providing that information, Petitioner cannot meet her burden of showing that the gun

 possession was unrelated to the drug offense. See Greeno, 679 F.3d at 514; see also United

 States v. Howard, 570 F. App'x 478, 482 (6th Cir. 2014) (finding that guns were found

 inside defendant’s house and were therefore close to where evidence shows defendant kept

 cocaine and proceeds of drug transactions.).

        Merely because Petitioner’s weapon was not loaded, and she did not have

 ammunition does not mean that it is “clearly improbable” that the firearm was related to

 the offense. See Chalkias, 971 F.2d at 1217 (unloaded Mac10 semiautomatic

 and no ammunition found in basement rafters of house where drugs were stored). The

 firearm in Petitioner’s possession was one that is normally associated with drug activity,

 Petitioner was engaged in drug trafficking as she was receiving and distributing the drugs,

 and while the record is silent regarding the location of the firearm, arguably because

 Petitioner claims she used it for self-defense, it was accessible to Petitioner. See id; see

 also Howard, 570 F. App'x at 483. Further, Petitioner’s argument that the firearm was used

 solely for self-defense is not persuasive as it was found in the same house as the drugs and

 money. See id. (finding that defendant’s alternative explanation that he used the guns for

 self-defense did not detract from the court’s finding that the dangerous weapon

 enhancement was appropriate).




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        Based on all the factors, Petitioner has not met her burden to show that it was

 “clearly improbable” that her possession of the firearm was connected to the drug-

 trafficking offense. Thus, Claim 2 fails on the merits.

        B. Claims 1 and 3 – Ineffective Assistance of Counsel

        As discussed above, Petitioner’s claims of ineffective assistance of counsel are not

 barred by her collateral attack waiver. The Sixth Amendment provides that “[i]n all

 criminal prosecutions, the accused shall enjoy the right . . . to have the assistance of counsel

 for h[er] defense.” U.S. Const. amend. VI. A criminal defendant’s Sixth Amendment right

 to counsel necessarily implies the right to “reasonably effective assistance” of counsel.

 Strickland v. Washington, 466 U.S. 668, 687 (1984). Under the Strickland standard for

 proving ineffective assistance of counsel, a movant must show: (1) that counsel’s

 performance was deficient; and (2) that the deficient performance prejudiced the defense.

 Id.

        To prove deficient performance, the movant must show “that counsel made errors

 so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant by

 the Sixth Amendment.” Id. The appropriate measure of attorney performance is

 “reasonableness under prevailing professional norms.” Id. at 688. A movant asserting a

 claim of ineffective assistance of counsel must “identify the acts or omissions of counsel

 that are alleged not to have been the result of reasonable professional judgment.” Id. at 690.

 The evaluation of the objective reasonableness of counsel’s performance must be made

 “from counsel’s perspective at the time of the alleged error and in light of all the

 circumstances, and the standard of review is highly deferential.” Kimmelman v. Morrison,

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 477 U.S. 365, 381 (1986). It is strongly presumed that counsel’s conduct was within the

 wide range of reasonable professional assistance. Strickland, 466 U.S. at 690.

        The prejudice prong “requires showing that counsel’s errors were so serious as to

 deprive the defendant of a fair trial, a trial whose result is unreliable.” Id. at 687. The

 movant must demonstrate “a reasonable probability that, but for counsel’s unprofessional

 errors, the result of the proceeding would have been different[.]” Id. at 703. Counsel is

 constitutionally ineffective only if a performance below professional standards caused the

 defendant to lose what she “otherwise would probably have won.” United States v.

 Morrow, 977 F.2d 222, 229 (6th Cir. 1992).

               a. Claim 1: Gun Enhancement

        Petitioner’s argument for ineffective assistance of counsel regarding the gun

 enhancement are almost identical to her arguments that the Court erred in applying the gun

 enhancement at sentencing discussed above. The main difference in argument is that she

 also claims she did not know the effect the plea agreement would have on her eligibility to

 be granted time off for RDAP and early release. [Doc. 2, p. 3]. She contends that she was

 of the understanding that once her gun charge was dismissed, she would only be charged

 with drugs. [Id.].

        The government responds that the enhancement is properly applied whenever “a

 dangerous weapon (including a firearm) was possessed.” [Doc. 8, p. 5] (citing to U.S.S.G.

 § 2D1.1(b)(1)). As such, Petitioner cannot show ineffective assistance of counsel by

 counsel’s failure to object to a meritless argument. [Id. at 7]

               b. Claim 3: Minor Role Reduction

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        Petitioner argues that counsel was ineffective for failing to argue for a minor role

 reduction under U.S.S.G. § 3B1.2. [Doc. 2, p. 7]. She argues that she was a minimal

 participant because she had no hand in dealing the drugs, orchestrating the operation, and

 did not receive proceeds from the sale of the drugs. She admits that she allowed her home

 to be the drop-off and pick-up point for the marijuana, but she did not know the scope and

 structure of the conspiracy, thus she was among the least culpable of those involved. [Id.].

        The government responds that Petitioner was not deserving of the minor role

 reduction as she personally accepted and redistributed the marijuana and sent at least one

 wire transfer to Oregon where the primary source of marijuana was located. [Doc. 8, p. 7].

 Further, the government argues that Petitioner cannot establish prejudice as the mandatory

 minimum sentence for her offense exceeded and thus restricted the advisory guideline

 range, and the government’s downward departure motion was the only basis which

 authorized the Court to go below that range in sentencing. [Id. at 8].

               c. Analysis

        Both claims fail at Strickland’s second step. Petitioner claims that her attorney’s

 failure to argue against the gun enhancement and for a minor role reduction affected her

 sentencing calculations. [Doc. 2]. However, Petitioner cannot show that the Court would

 have ruled in her favor on either argument, but for counsel’s failure.

        Because Petitioner admits that the government can prove that she possessed a gun

 during the commission of the drug offense and has not met her burden to show that it was

 clearly improbable that the gun was connected to the drug offense, Petitioner cannot show

 prejudice. As discussed above regarding Claim 2, there is no reasonable probability that,

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 had counsel objected to the two-point enhancement for possessing a dangerous weapon,

 the objection would have been sustained as the enhancement was properly applied. See

 Strickland, 466 U.S. at 703. Further, Petitioner makes no claim that she was actually

 innocent of the drug conspiracy crime for which she was convicted, nor does she claim she

 would have gone to trial, but for counsel’s errors. See Hill v. Lockhart, 474 U.S. 52, 59

 (1985) (to show prejudice in the context of a guilty plea, a petitioner “must show that there

 is a reasonable probability that, but for counsel’s errors, he would not have pleaded guilty

 and would have insisted on going to trial.”).

        Petitioner also cannot show that a failure to argue for a minor role reduction would

 have prejudiced her. A minor role reduction is reserved for defendants who are

 substantially less culpable than the average participant in the criminal activity.” U.S.S.G.

 § 3B1.2, comment. (n.3(C)). The record contains sufficient facts to show that a reasonable

 jury could have determined that Petitioner did not play a minor role as she admitted that

 she operated a distribution hub for marijuana deals, that she sent at least one wire transfer

 to Oregon where the drugs originated, and that she was responsible for at least 100

 kilograms, but less than 400 kilograms of marijuana. See United States v. Bartholomew

 310 F.3d 912, 924-25 (6th Cir. 2002) (finding a defendant whose house was used a base of

 operations, who stored a shotgun and ammunition in the same residence where the drug

 deals were taking place, and who personally received at least one large shipment of

 marijuana was not entitled to the minor role reduction); see also United States v. Keller,

 336 Fed.App’x 497, 502 (6th Cir.) (finding that a defendant who aided in the cutting and



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 repackaging of cocaine and arranging and carrying out drug deals was not entitled to the

 minor role reduction as his role was indispensable to the operation).

          Accordingly, Petitioner’s Claims 1 and 3 will be DENIED as Petitioner has not

 shown that she was prejudiced by any alleged ineffectiveness of counsel.

    IV.      CONCLUSION

          For the reasons above, Petitioner’s § 2255 motion [Doc. 1; Crim. Doc. 355] will be

 DENIED and DISMISSED.

    V.       CERTIFICATE OF APPEALABILITY

          Under 28 U.S.C. § 2253(c)(2), the Court must determine whether a certificate of

 appealability should be granted. A certificate should issue if a petitioner has demonstrated

 a “substantial showing of a denial of a constitutional right.” Id. The district court must

 “engage in a reasoned assessment of each claim” to determine whether a certificate is

 warranted. Murphy v. Ohio, 263 F.3d 466, 467 (6th Cir. 2001). Each issue must be

 considered under the standards set forth by the Supreme Court in Slack v. McDaniel, 529

 U.S. 473 (2000). Id.

          A petitioner whose claims have been rejected on the merits satisfies the

 requirements of § 2253(c) by showing that jurists of reason would find the assessment of

 the claims debatable or wrong. Slack, 529 U.S. at 484. Having examined Petitioner’s claim

 under the Slack standard, the Court finds that reasonable jurists could not find that the

 dismissal of those claims was debatable or wrong. Therefore, the Court will DENY

 issuance of a certificate of appealability.

          A separate judgment will enter.

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          IT IS SO ORDERED.

                                                ENTER:



                                                     s/ Leon Jordan
                                                United States District Judge




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